      Case 1-19-44325-cec         Doc 4     Filed 07/19/19     Entered 07/19/19 13:14:58


UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
CHNY1483
 IN RE:
                                             Chapter: 7
 GEORGE ALMODOVAR
                                             Case No.: 19-44325 CEC
          Debtor(s).
                                             NOTICE OF APPEARANCE AND
                                             REQUEST FOR SERVICE OF PAPERS

       PLEASE TAKE NOTICE that the firm FEIN, SUCH & CRANE, LLP is appearing for the

following party in the above named bankruptcy case:

                           JPMorgan Chase Bank, National Association

       This party is a party in interest in this case and is a secured creditor pursuant to a mortgage

dated December 6, 2006 and recorded in the Office of the RICHMOND County Clerk/Register on

February 14, 2007 as Document Identification Number 000000000151232, in the foreclosure action

of the Debtor(s):

                                    GEORGE ALMODOVAR

       Pursuant to Rule 2002 of the Bankruptcy Rules, the undersigned hereby requests that all

notices given or requested to be given and all papers served or required to be served in this case be

given to and served upon the undersigned at the address listed above.

Dated: July 19, 2019



                                              FEIN, SUCH & CRANE, LLP
                                              Attorneys for Movant, JPMorgan Chase Bank,
                                              National Association

                                          By: /s/ TAMMY L. TERRELL BENOZA
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